
Jean Claude Compas, M.D., as Assignee of Schettini, Sean, Appellant, 
againstCitiwide Auto Leasing, Respondent.




The Rybak Firm, PLLC (Damin J. Toell, Esq.), for appellant.
Nightingale Law, P.C. (Michael S. Nightingale, Esq.), for respondent.

Appeal from an order of the Civil Court of the City of New York, Queens County (Jodi Orlow, J.), entered June 23, 2014. The order granted defendant's motion for summary judgment dismissing the complaint.




ORDERED that the order is affirmed, with $25 costs.
In this action by a provider to recover assigned first-party no-fault benefits, defendant moved for summary judgment dismissing the complaint on the ground that defendant had timely and properly denied the claims based upon a late notice of the accident and a late submission of a claim form (see 11 NYCRR 65-2.4 [b], [c]). Plaintiff appeals from an order of the Civil Court which granted defendant's motion.
For the reasons stated in Omphil Care, Inc., as Assignee of Joseph, Johanne v Citiwide Auto Leasing (___ Misc 3d ____, 2017 NY Slip Op ______ [appeal No. 2014-1109 K C], decided herewith), the order is affirmed.
PESCE, P.J., ALIOTTA and SOLOMON, JJ., concur.
ENTER:
Paul Kenny
Chief Clerk
Decision Date: August 11, 2017










